 1                                                                                   Honorable Marc L. Barreca
 2                                                                                                  Chapter 7
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 9                                  UNITED STATES BANKRUPTCY COURT
10                                  WESTERN DISTRICT OF WASHINGTON
11                                            AT SEATTLE
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13
       In re                                                  Case No. 14-10421-MLB
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16     CASEY R. INGELS,
17                                       Debtor.
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21     JOHN S. PETERSON, as Bankruptcy Trustee,               Adversary No. 14-01387-MLB
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                                         Plaintiff,
25                                                            DECLARATION OF JAMIE MCFARLANE IN
26     vs.                                                    SUPPORT OF DEFENDANT’S REPLY
27
28     CASEY R. INGELS,
29
30                                       Defendant.
31
32
33
34                   Jamie McFarlane states as follows:
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36                   1.     I am over the age of 18 and I am a citizen of the United States. I am
37
38           knowledgeable regarding the facts in this Declaration and am competent to testify to the
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40
             same.
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42
43                   2.     I provided the Plaintiff with a copy of the promissory note on December 12,
44
45           2014.
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        DECLARATION OF JAMIE McFARLANE IN SUPPORT
        OF DEFENDANT’S REPLY - 1
                                                                           720 Olive Way, Suite 1000
                                                                               Seattle, WA 98101
                                                                     206-624-9894 phone / 206-624-8598 fax


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 1               3.      Throughout this adversary case I have offered on more than ten occasions to
 2
 3       provide the Plaintiff with any documentation or information he needs to satisfy his inquiry.
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                 4.      The Plaintiff never submitted written discovery requests to the Defendant.
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 8       Despite the deadline to serve written discovery on the Defendant passing, the Defendant
 9
10       still offered to provide any information the Plaintiff needed.
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                 I declare under penalty of perjury that the foregoing is true and correct.
16
17               DATED this 13th day of March 2015.
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20                                                              /s/ Jamie McFarlane
21                                                       Jamie McFarlane
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